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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF GEORGIA
                                MACON DIVISION

 ANNA LANGE,                                  )
                                              )
        Plaintiff,                            )
                                              )
 v.                                           )         CIVIL ACTION NO.
                                              )         5:19-CV-00392-MTT
 HOUSTON COUNTY, et al.,                      )
                                              )
        Defendants.                           )

                     REPLY IN SUPPORT OF
      DEFENDANTS HOUSTON COUNTY BOARD OF COMMISSIONERS,
       STALNAKER, WALKER, ROBINSON, THOMSON, MCMICHAEL,
                HOLLAND, DUNBAR, AND CARTER’S
                      MOTION TO DISMISS

       COME NOW Defendants Houston County Board of Commissioners (“Board”) and

Defendants Stalnaker, Walker, Robinson, Thomson, McMichael, Holland, Dunbar, and

Carter, in their individual capacities (“Individual Defendants”), and, in accordance with

Local Rule 7.3, M.D. Ga., submit the following Reply in Support of their Motion to

Dismiss.

       Plaintiff asserted each of her claims against “Defendants” collectively, not

identifying in the pleading which Defendants allegedly engaged in which unlawful action.

(Complaint, ¶¶ 114, 117, 119, 123-24, 131-133, 136-38.) The Board and the Individual

Defendants moved to be dismissed from this action because they are not proper defendants

to Plaintiff’s claims. Plaintiff’s arguments in her Response fail to rebut the positions laid

out in the Board’s and Individual Defendants’ motion and principal brief. Accordingly, all

claims against them should be dismissed for the following reasons:
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     • To the extent it can be sued as an entity, the Board is redundant to the County as a

        Defendant.

     • There is no basis to hold the Individual Defendants liable under Title VII or the

        ADA, in either their individual or official capacities.

     • Plaintiff’s state law Equal Protection claim, while now styled against the Individual

        Defendants in their individual capacities, amounts to a claim against the County as

        the real party in interest – the Individual Defendants, in their own rights, cannot

        deliver the relief Plaintiff seeks.

     • The Individual Defendants are entitled to qualified immunity on Plaintiff’s federal

        Equal Protection claim, which immunity applies to litigation and not just claims for

        damages, as well as legislative immunity.

I.      The Board Should be Dismissed.

        As addressed in Defendants’ principal brief, in Georgia, it has long been established

that actions against a county must name the county as a defendant. See Comm'rs of Rds.

& Revenue of Houston Cty v. Howard, 59 Ga. App. 451, 1 S.E. 2d 222 (Ga. Ct. App. 1939).

See also Merritt v. Dixon, 222 Ga. 432, 150 S.E. 2d 644 (1966). Where, as here, Plaintiff

has sued the County, Defendants submit that her actions against the Board of

Commissioners are improper, as the board “is simply the county’s governing body and

therefore cannot be sued separately.” Abusaid v. Hillsborough Cty Bd. of Cty Comm’rs,

405 F. 3d 1298, 1302 n. 3 (11th Cir. 1992). While Plaintiff criticizes Defendants’ reliance

on Abusaid because it was decided under Florida law, Georgia courts consistently apply it

for the proposition that the Board is redundant to the County. Brown v. SunTrust Morg.,
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Inc., 2:12-cv-00120-RWS, 2012 WL6591702, at*6 (N.D. Ga. Dec. 18, 2012); Thomas v.

Cobb County Sheriff’s Dept., 1:06-cv-1883-JEC; 2010 WL 431468, at *6, n. 2 (N.D. Ga.

Feb. 4, 2010).

II.       The Individual Defendants Are Entitled to Dismissal of Plaintiff’s Title VII and
          ADA Claims.

          The Individual Defendants established in their principal brief that there is no

individual liability under Title VII or the ADA. (Doc. 29-1, pp. 5-6.) In her Omnibus

Response, Plaintiff concedes that the Individual Defendants are relieved of liability in their

individual capacities, but maintains that dismissal is nevertheless unwarranted in their

official capacities. (Doc. 41, p. 37.) 1 This argument is inapposite for two reasons. First,

the Individual Defendants are sued in their official capacities as elected or management

officials of the County, not the Sheriff’s Office. Thus, they are still associated with an entity

that is not Plaintiff’s employer. (This argument is further addressed in Section II of the

County’s Reply in Support of its Motion for Judgment on the Pleadings.) Second, even if

the County could be seen as Plaintiff’s employer, the inclusion of the Individual

Defendants – even in their official capacities – would be duplicative of the County as a

defendant. Gonser v. Twiggs County, 182 F. Supp. 2d 1253, 1256 (M.D. Ga. 2002)

(dismissing official capacity claims brought against county commissioners as redundant of

claims against county).




      1
     Defendants’ citations to Plaintiff’s Response, and other filed documents, are to the
pagination at the top of the page in the Court’s filing legend.
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       In fact, in Robinson v. Smith, 2015 WL 4193269, at *2 (M.D. Ga. July 10, 2015),

cited by Plaintiff, the court plainly declared that a student’s ADA claims against school

officials in their individual capacities must be dismissed at the Rule 12 stage. Moreover,

the court amended the complaint to recast the official capacity claims as being asserted

against the school system. Id., at *5. To streamline the pleadings and parties, the Court

here should recognize the same distinctions.         The Individual Defendants should be

dismissed in their individual capacities, as Plaintiff concedes, because there is no individual

liability under Title VII or the ADA. And the Individual Defendants in their official

capacities should be dismissed as duplicative of the claims against the County under

Gonser and Robinson. Accordingly, Defendants request that the Individual Defendants be

dismissed entirely as to Plaintiff’s Title VII and ADA claims.

III.   The Individual Defendants Are Entitled to Dismissal of Plaintiff’s State Law
       Equal Protection Claim.

       A.     There is No Cause of Action under the Equal Protection Clause of the
              Georgia Constitution.

       The Board and Individual Defendants seek the dismissal of Plaintiff’s equal

protection claim under the Georgia Constitution on the grounds that Georgia law does not

recognize a cause of action for such claims. See Dixon v. Ga. Dept. Pub. Safety, 135 F.

Supp. 3d 1362, 1371-72 (S.D. Ga. 2015) (Georgia has “no equivalent to 42 U.S.C. § 1983,

which gives a claim against a state officer individually for certain unconstitutional acts.

Thus, plaintiffs have failed to state a claim … under the Georgia Constitution.” (Citation

omitted.)); State Bd. Of Educ. v. Drury, 263 Ga. 429, 433-34 (1993) (“[n]either the trial

court nor this court is free to fashion a Bivens remedy under state law.”). See also Davis

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v. Standifer, 275 Ga. App. 769, 772 n.2 (2005); Howard v. Miller, 476 S.E. 2d 636, 659

(Ga. Ct. App. 1996); Benjamin v. Thomas, No. 1:16-cv-1632-WSD, 2016 WL 5394118, at

*5 (N.D.Ga. Sep. 27, 2016).

       Plaintiff contends, however, that the lack of any Georgia law equivalent to Section

1983 or the Supreme Court’s Bivens decision is “irrelevant and a red herring,” inasmuch

as “she is pursuing a direct claim expressly afforded her by the text of the Georgia

Constitution.” (Doc. 41, p.30) In support of this “expressly afforded” right of action,

Plaintiff curiously cites to the 1991 amendment to the Georgia Constitution which elevated

the defense of “official immunity” to constitutional status. Far from creating a heretofore

non-existent cause of action under the Georgia Constitution, this provision merely re-states

the continued validity of the long-established exception to official immunity when claims

are asserted against public officials (1) who are negligent in the performance of their

ministerial duties or (2) who act with actual malice or with an actual intent to cause harm

in the performance of their discretionary functions. See Ga. Const. of 1983, Art. I, Sec. II,

Par. IX(d). This provision, even in maintaining these narrow exceptions, actually serves

to limit causes of action that otherwise could be asserted against public officials; it does

not recognize – and certainly does not authorize – causes of action for alleged violations

of the Georgia Constitution.      Plaintiff’s equal protection claim under the Georgia

Constitution is due to be dismissed on these grounds alone.




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        B.     Plaintiff’s State Law Equal Protection Claim Against the Individual
               Defendants Is Barred by Official Immunity.

        While conceding that sovereign immunity bars her Georgia law equal protection

claim insofar as she has asserted it against the County (as well as the Board and the

Individual Defendants in their official capacities), Plaintiff continues to insist that the claim

remains viable against the Individual Defendants in their individual capacities to the extent

she has asserted it against them for declaratory and injunctive relief. (Doc. 41, p. 31.) In

the context of this case, where the nature of the prospective relief sought from the

Individual Defendants is identical to that sought from the County, this is not correct.

        Plaintiff’s argument that official immunity poses no bar to a claim asserted against

a public official in his or her individual capacity is based on the Georgia Supreme Court’s

recent decision in Lathrop v. Deal, 301 Ga. 408, 414, 801 S.E.2d 867, 873 (2017). In

Lathrop, the Court observed that “official immunity generally is no bar to claims against

state officers in their individual capacities for injunctive and declaratory relief from the

enforcement of laws that are alleged to be unconstitutional, so long as the injunctive and

declaratory relief is only prospective in nature.” Lathrop, 301 Ga. at 434-35. 2 In so

observing, the Court analyzed the history of sovereign immunity in Georgia in great detail,

ultimately concluding that the current state of the doctrine, while now elevated to


    2
      Notably, although the Lathrop Court devoted a substantial portion of its decision to
the discussion of official immunity, this entire discussion is dicta, as all individual
defendants in that case were sued exclusively in their official capacities and, therefore, the
issue of official immunity was not before the Court. Lathrop, 301 Ga. at 425. See Zepp v.
Brannen, 283 Ga. 395, 397 (2008) (dicta lacks precedential force because it is merely a
statement concerning some rule of law or legal proposition not involved nor essential to
determination of the case).
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constitutional status, “applies today just as it applied at common law.” Id. at 425. This is

significant because, as the Court also noted under Georgia common law, a plaintiff could

not circumvent sovereign immunity by asserting a claim against a public official in his

individual capacity for what are clearly official acts. See id. at 414 (“[Sovereign immunity]

cannot be evaded by making an action nominally one against the servants or agents of a

State, when the real claim is against the State itself.”) (emphasis added); see also id. at 415

(“[If] the sole relief is relief against the State officer [in his or her individual capacity], it

is maintainable;” however, relief sought against public officials in their individual

capacities where “the State itself [is] the real party in interest” are barred) (emphasis

added).

       In the present case, as noted above, the prospective relief Plaintiff seeks from the

County is indistinguishable from that sought against the Individual Defendants in their

individual capacities. Indeed, such relief, if granted, would indisputably compel the

Individual Defendants to take actions relating to a County contract, in the specific context

of approving payment for significant medical procedures involving the disposition of funds

in the County’s treasury. See Musgrove v. Ga. R. & Banking Co., 204 Ga. 139, 154–155

(1948) (cited by Lathrop, 301 Ga. at 414) (“Whether or not, in view of other references in

the petition after such amendment [to strike reference to the defendant in his representative

capacity as State Revenue Commissioner], it could be said that the petition as amended is

in name a suit against the defendant solely in his individual capacity, is immaterial, if upon

a consideration of the petition as a whole, including the relief which it seeks, it appears that



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the action is in reality a suit against the State, brought without its consent.”). 3 Accordingly,

whether characterized as sovereign immunity or official immunity, Plaintiff’s claims under

the Georgia Constitution for prospective injunctive and declaratory relief against the

Individual Defendants in their individual capacities are barred.

IV.       Plaintiff’s Section 1983 Claim Against the Individual Defendants Is Barred by
          Immunity.

          A.     The Individual Defendants Are Entitled to Qualified Immunity

          The Individual Defendants seek dismissal of Plaintiff’s Section 1983 claim on the

grounds of qualified immunity. In support of this aspect of their Motion to Dismiss, the

Individual Defendants demonstrated that their alleged actions (i.e., their respective roles in

the decision-making process associated with coverage exclusions under the County’s

health plans) fell within their discretionary authority and that Plaintiff is unable to establish

that the alleged “illegality” attributed to the act of any given Individual Defendant was

clearly established. (Doc. 29-1, pp. 10-11.) Plaintiff has failed to rebut this showing or

otherwise overcome the presumption of qualified immunity to which the Individual

Defendants are entitled. See Glenn v. City of Columbus, 375 Fed. App’x 928, 931 (11th

Cir. 2010).

          Plaintiff initially attempts to deprive the Individual Defendants of their entitlement

to qualified immunity by misleadingly arguing that the defense applies only to claims for


      3
      In Musgrove, the Georgia Supreme Court held that where the plaintiff was “seeking
to enforce what it claim[ed] to be a contract with the State of Georgia,” the State, “as a
corporate entity, ha[d] a distinct and direct interest in the subject matter of the litigation, as
distinguished from its mere governmental interest in the enforcement of its law for the
general welfare”). Id. at 157.
                                               -8-
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damages and not to claims seeking prospective injunctive relief. (Doc. 41, p. 11.) 4 In truth,

qualified immunity has always been intended to protect government officials in the

performance of discretionary functions from the burdens of litigation – not just from

liability for damages. See Harlow v. Fitzgerald, 457 U.S. 800, 816-17 (1982) (holding that

qualified immunity protects public officials, not just from “liability for money damages,

[but also from] the general costs of subjecting officials to the risks of trial – distraction of

officials from their governmental duties, inhibition of discretionary action, and deterrence

of able people from public service.”). See also Mitchell v. Forsyth, 472 U.S. 511, 526

(1985) (“The entitlement is an immunity from suit rather than a mere defense to liability.”).

       Moreover, while there is clear authority holding that claims asserted against state

officials in their individual capacities are permissible in certain circumstances where the

plaintiff is seeking only declaratory and/or injunctive relief, those cases involve Eleventh



       4
         In support of this proposition, Plaintiff primarily relies on dicta from the Supreme
Court in Pearson v. Callahan, 555 U.S. 223, 243 (2009), in which the Court preemptively
addresses any “misgivings” about its actual holding in the case by listing “cases in which
[qualified immunity is not available], such as criminal cases and § 1983 cases against a
municipality, as well as § 1983 cases against individuals where injunctive relief is sought
instead of or in addition to damages.” Pearson, 555 U.S. at 242-43. For this proposition,
the Pearson Court cites only County of Sacramento v. Lewis, 523 U.S. 833 (1998), in which
the Court employs the same list to make the same point. See Lewis, 523 U.S. at 841, n. 5.
The Lewis Court, in turn, cited a law review article for this proposition; i.e., Shapiro, Public
Officials’ Qualified Immunity in Section 1983 Actions Under Harlow v. Fitzgerald and its
Progeny, 22 U. Mich. J.L. Ref. 249 (1989). A review of the cited portion of this article
reveals, however, that the author referenced only “§ 1983 injunctive actions,” not “§ 1983
cases against individuals where injunctive relief is sought.” See Shapiro, 22 U. Mich. J. L.
Ref. at 265, n. 109 (“New [constitutional] rights could be established in a number of ways,
including § 1983 injunctive actions; actions against municipalities, which cannot claim
immunity, … actions against private parties who have conspired with government officials,
… and as defenses to criminal actions ….”) (citations omitted.).
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Amendment immunity which is not at issue here. See Idaho v. Coeur d’Alene Tribe, 521

U.S. 261, 269 (1997). In the context of qualified immunity – which is at issue here –

injunctive relief cannot be sought against a public official in his individual capacity “if the

act [the plaintiff seeks to compel] must be in his official capacity to have official

consequences.” Evans v. Bayer, 684 F. Supp. 2d 1365, 1369 (S.D. Fla. 2010) (citing

Barrish v. Cappy, 2006 WL 999974, at *4 (E.D.Pa. Apr. 17, 2006) (court cannot grant

injunctive relief to compel “an officer in his personal capacity to take an official act.”));

see also Chandler v. Williams, 2013 WL 2489139, * 23 (D.Or. Jun. 7, 2013) (“Chandler

… seeks only declaratory and injunctive relief [but] [s]uch relief is not available against

Mills in his individual capacity ‘if the act must be in his official capacity to have official

consequences.’”) (quoting Bayer, 684 F. Supp. 2d at 369). In the present case, because

there is no question that the injunctive and declaratory relief sought by Plaintiff could only

affect the individual Defendants in their official capacities, 5 her contention that qualified

immunity is not a valid defense to claims seeking such relief is without merit. 6


       5
        In the ad damnum clause of her Complaint, Plaintiff requests relief in the form of
a declaration that “Defendants’ adoption of the Exclusion violates the Equal Protection
Clause of the Fourteenth Amendment to the United States Constitution, the Georgia
Constitution’s equal protection guarantee, Title VII of the Civil Rights Act, Title I of the
ADA, and Title II of the ADA” and in the form of an injunction enjoining “Defendants
from any further enforcement or application of the Exclusion, and from enforcing or
applying the Health Plan or any future health plan in any discriminatory or unlawful
manner against transgender individuals, individuals with gender dysphoria, or individuals
seeking transition-related health care.” (Complaint, p. 29.)
       6
        As she does throughout her Response, Plaintiff references and then refutes an
argument never made by Defendants. In this instance, she asserts that “qualified immunity
does not bar [her] claims against the Individual Defendants in their official capacities.”
(Doc. 41, p. 22.) The Memorandum in Support of their Motion to Dismiss makes clear on
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       Next, Plaintiff makes a passing attempt at overcoming the Individual Defendants’

qualified immunity defense by arguing that the constitutional right she alleges was violated

by their acts was “clearly established” by Eleventh Circuit precedent. (Doc. 41, pp. 22-

23.) In ostensible support for this contention, Plaintiff cites Glenn v. Brumby, 663 F. 3d

1312, 1320 (11th Cir. 2011) for the proposition that “the Equal Protection Clause prohibits

government discrimination on the basis of someone’s gender non-conformity.” Far from

satisfying her burden, however, this assertion constitutes precisely the type of broad legal

truism which the Eleventh Circuit has consistently rejected as insufficient to overcome the

presumption of qualified immunity. See Beckman v. Hamilton, 732 F. App’x 737, 740

(11th Cir. 2018).

       Instead, to meet the “clearly established” standard, a broad statement of principle

such as that relied upon by Plaintiff must establish with “obvious clarity” that “the

unlawfulness [of the defendant’s conduct is] apparent.” Vinyard v. Wilson, 311 F.3d 1340,

1352-53 (11th Cir. 2002). Contrary to what she would have this Court conclude, Glenn

does not contain any broad statement of principle clearly establishing that a transgender

employee of one governmental entity has an equal protection right to excluded medical

treatments for gender dysphoria under a health plan established and maintained by another

governmental entity. See Barts v. Joyner, 865 F.2d 1187, 1190 (11th Cir. 1989) (plaintiff

cannot discharge her burden simply by stating broad legal truisms; rather, she must prove

the existence of a clear, factually-defined, well-recognized right of which a reasonable


its first page that the Motion to Dismiss was filed on behalf of the Individual Defendants
in their individual capacities only.
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public official would have known). See also Post v. City of Fort Lauderdale, 7 F.3d 1552,

1557 (11th Cir. 1993); Beckman v. Hamilton, 732 F. App’x 737, 740 (11th Cir. 2018).

          As the Individual Defendants noted in their principal brief, apart from the highly

distinguishable prison/jail custody context, neither the Supreme Court nor the Eleventh

Circuit has ever held that a health plan coverage exclusion adversely affecting transgender

participants violates equal protection. Indeed, the only Supreme Court precedent analyzing

coverage exclusions uniquely affecting participants in a given protected classification

expressly held that the exclusions did not violate equal protection. See Geduldig v. Aiello,

417 U.S. 484, 497 (1974) (holding that coverage exclusion for pregnancy does not equate

to sex discrimination under Equal Protection Clause). Irrespective of whether Geduldig

compels the same holding with respect to the Exclusion at issue in this case – which

Defendants maintain it does – for qualified immunity purposes, it certainly demonstrates

the lack of authority “clearly establishing” the equal protection claims asserted by Plaintiff

herein.

          The lack of controlling authority clearly establishing the specific constitutional right

asserted by Plaintiff in this action is especially apparent when the unique circumstances

presented by this case are taken into consideration; i.e., where the plaintiff is asserting

constitutional rights under a healthcare plan established and maintained by a governmental

entity other than her employer. Notwithstanding Plaintiff’s conclusory assertions to the

contrary, it simply cannot be said that no reasonable county official in the Individual

Defendants’ place could have possibly believed that the Exclusion could be maintained

without running afoul of constitutional standards. To the contrary, given these unique

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circumstances and the limited controlling legal precedent available, a reasonable county

official easily could believe that maintaining the Exclusion would be lawful. See Foy v.

Holston, 94 F.3d 1528, 1533-34 (11th Cir. 1996) (“[T]he basic qualified immunity question

… [is whether] a reasonable [public official could] have believed that what the defendant

did might be lawful in the circumstances and in the light of the clearly established law?”).

       Finally, in a last-ditch effort to overcome the Individual Defendants’ entitlement to

qualified immunity, Plaintiff attempts to attach significance to her allegations that they

“were informed on multiple occasions by [Plaintiff], her attorney, and the County’s third-

party administrator … that the Exclusion was unlawful.” (Doc. 41, p. 24.) This assertion

has no application whatsoever to the qualified immunity analysis. “Whether an asserted

federal right was clearly established at a particular time, so that a public official who

allegedly violated the right has no qualified immunity from suit, presents a question of law,

not one of ‘legal facts.’” Elder v. Holloway, 510 U.S. 510, 516 (1994) (emphasis added).

As such, none of this “evidence” cited by Plaintiff regarding what the Individual

Defendants were allegedly told by her, by her attorney, or by the County’s third party

administrator compels any legal conclusions whatsoever – least of all any conclusions as

to what constitutional rights are clearly established. See id. Indeed, as previously noted, a

constitutional right can be “clearly established” for purposes of the qualified immunity

analysis in one of three ways 7 – not one of which encompasses the sources cited by



       7
        See Thomas ex rel. Thomas v. Roberts, 323 F.3d 950, 955 (11th Cir.2003) (holding
that “only Supreme Court cases, Eleventh Circuit caselaw, and Georgia Supreme Court
caselaw can ‘clearly establish’ law in this circuit”).
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Plaintiff. For this reason, as well as for the reasons set forth above and in their principal

Brief, the Individual Defendants are entitled to qualified immunity from Plaintiff’s Section

1983 claim and, as such, this aspect of their Motion to Dismiss should be granted.

       B.     The Individual Defendants Are Entitled to Legislative Immunity
       The Individual Defendants also seek dismissal of Plaintiff’s Section 1983 claim on

the alternative grounds of legislative immunity. 8 In response, Plaintiff contends that the

adoption and maintenance of a county health plan – including its coverage exclusions – is

not a legislative act. (Pl. Resp., p. 14.) In so doing, Plaintiff dismisses the fact that a

county’s board of commissioners, as its governing, legislative authority, is the body

exclusively authorized to take such action as a function of home rule. See Ga. Const., Art.

IX, Sec. II, Para. I(f) (“The governing authority of each county is authorized to fix the

salary, compensation, and expenses of those employed by such governing authority and to

establish and maintain … insurance … and hospitalization benefits for said employees.”).

See also Savage v. City of Atlanta, 242 Ga. 671, 674-75 (Ga. Sup. Ct. 1978) (With regard

to home rule, “[t]he generally accepted meaning of the phrase ‘governing authority’ … in

reference to the operation of … county governments is a … board performing legislative

functions ....” [Citations omitted.]).




       8
         In an apparent attempt to influence the Court’s perception of this defense, Plaintiff
accuses the Individual Defendants of “baldly assert[ing]” their entitlement to legislative
immunity.” (Doc. 41, p.24) In truth, they devoted nearly three pages of their principal brief
to the argument and cited over 15 cases in its support. Such dismissive tactics reveal a
great deal about Plaintiff’s ability to overcome the defense on its merits.
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       Moreover, as noted in the Individual Defendants’ principal brief, even an

employment decision affecting a single individual – which generally would be regarded as

an executive or administrative decision – is entitled to absolute immunity “when …

accomplished through traditional legislative functions such as policymaking and budgetary

restructuring that strike at the heart of the legislative process.” Id. (quoting Acevedo–

Garcia v. Vera–Monroig, 204 F.3d 1, 8 (1st Cir. 2000)). Thus, contrary to what Plaintiff

would have this Court conclude, absolute immunity attaches whenever the governmental

act in question “reflect[s] a discretionary, policymaking decision implicating the budgetary

priorities of the [local governmental body].” Id. (quoting Bogan v. Scott-Harris, 523 U.S.

44, 55-56 (1998). In the present case, the Board’s adoption and maintenance of a county

health plan – including its coverage exclusions – unquestionably meets this definition.

       Plaintiff also argues that legislative immunity does not apply here, because “she is

seeking relief from the discriminatory effects of the Exclusion.” (Doc. 41, p.25) The

applicability of legislative immunity, however, turns on the nature of the act at issue, not

on the alleged motives of those involved in the act. See Scott v. Taylor, 405 F.3d 1251,

1256 n.7 (11th Cir. 2005) (allegedly improper motives are irrelevant in determining the

applicability of legislative immunity); Macuba v. Deboer, 193 F.3d 1316, 1321 (11th Cir.

1999). See also Village of North Atlanta v. Cook, 219 Ga. 316, 319 (1963) (in considering

legislative immunity, courts do not inquire into motives of local governing authority).




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Accordingly, Plaintiff’s Section 1983 claims against the Individual Defendants are subject

to dismissal on the alternative grounds of legislative immunity as well. 9

V.     Conclusion

       For each of the foregoing reasons, Defendant Houston County Board of

Commissioners and Defendants Stalnaker, Walker, Robinson, Thomson, McMichael,

Holland, Dunbar, and Carter, in their individual capacities, respectfully request that this

Court grant their Motion and enter an appropriate Order dismissing Plaintiff’s claims

against them with prejudice.

           Respectfully submitted, this 11th day of February, 2020.

                                                /s/ Sharon P. Morgan
                                                R. Read Gignilliat
                                                Georgia Bar No. 293390
                                                Sharon P. Morgan
                                                Georgia Bar No. 522955
                                                Patrick L. Lail
                                                Georgia Bar No. 431101

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 Attorneys for Defendants


       9
          Plaintiff’s argument that legislative immunity does not bar her ADA claim ignores
the fact that Defendants have not raised legislative immunity as a defense to that claim. (Pl.
Resp., p. 18.)
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF GEORGIA
                                MACON DIVISION

 ANNA LANGE,                                   )
                                               )
        Plaintiff,                             )         CIVIL ACTION NO.
                                               )         5:19-CV-00392-MTT
 v.                                            )
                                               )
 HOUSTON COUNTY, et al.,                       )
                                               )
        Defendants.

                             CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed a true and correct copy of the REPLY IN

SUPPORT         OF     DEFENDANTS            HOUSTON          COUNTY         BOARD         OF

COMMISSIONERS,            STALNAKER,          WALKER,         ROBINSON,         THOMSON,

MCMICHAEL, HOLLAND, DUNBAR, AND CARTER’S MOTION TO DISMISS

with the Clerk of Court using the CM/ECF system which will automatically send email

notification of such filing, constitution service, to the following attorneys of record:

           Kenneth E. Barton, III                             Wesley Powell
            M. Devlin Cooper                                   Mary Eaton
                                                               Jill K. Grant

               David Brown                                    Kevin M. Barry
               Noah E. Lewis

       Respectfully submitted, this the 11th day of February 2020.

                                                   s/ Sharon P. Morgan
                                                   Sharon P. Morgan
                                                   Georgia Bar No. 522955
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